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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                           Chapter 11
                                                Case No. 07-10416-KJC
NEW CENTURY TRS HOLDINGS,
                                                Objections due by: September 24 2007, 4:00 p.m.
                      Debtor.                   Hearing Date: October 2, 2007 at 1:30 p.m.



             MOTION OF DEUTSCHE BANK NATIONAL TRUST
    COMPANY, AS TRUSTEE C/O OCWEN LOAN SERVICING, LLC FOR RELIEF
   FROM AUTOMATIC STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

        Deutsche Bank National Trust Company, as Trustee c/o Ocwen Loan Servicing, LLC

(“Movant”), by its undersigned counsel, files this motion for relief from the automatic stay to

exercise its non-bankruptcy rights with respect to each parcel of real property listed on Exhibit A

hereto (each a “Property,” and collectively, the “Properties”) and, as grounds therefor, states as

follows:

        1.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C.

§ 1409(a). The statutory basis for the relief requested in this motion is 11 U.S.C. §§ 362 and 105.

        2.     On April 2, 2007 (the “Petition Date”), New Century TRS Holdings and certain of its

affiliates (the “Debtors”), including but not limited to New Century Mortgage Corporation (the

“Debtor”), filed voluntary petitions for relief under Chapter 11 of the United States Bankruptcy

Code. Since the Petition Date, the Debtors have managed their affairs as debtors in possession

pursuant to 11 U.S.C. §§ 1107 and 1108.

        3.     At various times, the individuals listed in the column entitled “Obligors” on Exhibit

A hereto (each an “Obligor,” and collectively, the “Obligors”) executed promissory notes in the
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respective1 principal amounts, and at the respective interest rates per annum, described in that

exhibit (each a “Note,” and collectively, the “Notes”). In addition, each of the Notes provides for

the recovery of attorneys’ fees, late charges, and other costs. The Notes were delivered to the

respective parties listed in the column entitled “Original Obligee” on Exhibit A hereto (the

“Original Obligees”).

        4.       To secure the repayment of the sums due under the Notes, each of the Obligors

executed and delivered to the respective Original Obligees a mortgage, deed of trust, or comparable

instrument of security on the Property (each a “Mortgage,” and collectively, the “Mortgages”).

Each of the Mortgages was recorded among the land records in the state and county in which the

respective Property is situated.2

        5.       To the extent Movant was not the Original Obligee in connection with any of the

Properties, the Mortgages and Notes were later transferred to Movant, and Movant is the present

holder of the Mortgages and Notes.

        6.       Review of the title to the Properties shows that the Debtor may hold liens on each of

the Properties junior to the Mortgages.

        7.       Each of the Obligors is now in default under the respective Notes, and Movant seeks

to exercise its non-bankruptcy rights and remedies with respect to the Notes, including but not

limited to enforcement of its rights against the respective Mortgages.

        8.       Because its junior liens described in ¶ 6 above are subordinate to the Mortgages, the

Debtor has no equity in the Properties.




1
  As used in connection with terms identified on Exhibit A hereto, “respective” means appearing on the same row of the
table.
2
  In some instances, a particular Property may be listed on the exhibit more than once. In such instances, Movant holds
more than one Mortgage on the same Property, both of which are senior to the mortgage or lien asserted by the Debtor.



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         9.    Because the Debtor’s junior liens adds little or no value to the Debtor’s bankruptcy

estate, the Properties are not necessary for the Debtor’s reorganization.

         10.   Because the Debtor has no equity in the Properties and the Properties are not

necessary for an effective reorganization, relief from the automatic stay is appropriate under §

362(d)(2) of the Bankruptcy Code to permit Movant to exercise its non-bankruptcy rights and

remedies with respect to the Mortgages.

         11.   Moreover, upon information and belief, the value of each Property is decreasing, or

not increasing at the same rate as the Obligor’s indebtedness under the respective Note is

increasing. Therefore, Movant’s interest in each of the Mortgages is not adequately protected.

         12.   Movant does not know whether the Properties, including but not limited to Movant’s

interest in the Mortgages, is properly insured. Therefore, Movant’s interest in the Mortgages is not

adequately protected.

         13.   Movant does not know whether each of the Obligors is properly maintaining the

physical premises of the respective Properties.    Therefore, Movant’s interest in the Mortgages is

not adequately protected.

         14.   A continued stay of Movant’s action against the Obligors and the Properties will

cause Movant significant prejudice.

         15.   Therefore, cause exists to terminate the automatic stay to permit Movant to exercise

its non-bankruptcy rights and remedies with respect to the Mortgages pursuant to § 362(d)(1) of the

Bankruptcy Code.

         16.   Movant believes that this motion will be unopposed or granted upon consensual

terms.    A stay of any order granting this motion would, in such instance, be inappropriate.

Therefore, Movant is seeking relief from the stay provisions of Fed. R. Bankr. P. 4001(a)(3).




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       17.     Copies of this motion and notice hereof have been served upon the Debtor, counsel

for the Debtor, counsel for the Committee, and counsel for the United States Trustee. In light of the

extremely high volume of similar motions being filed in this case and the fact that the parties most

likely to seek a position with respect to this motion are receiving notice, Movant believes that

limiting notice to these parties is appropriate and requests that the Court consider the merits of this

motion accordingly.

       WHEREFORE, for the foregoing reasons, Movant respectfully requests that this Court enter

an Order terminating the automatic stay and allowing Movant to exercise its non-bankruptcy rights

and remedies as to each of the Properties, including but not limited to foreclosure of each of the

Mortgages, and granting such other and further relief as this court deems just and proper.


Dated: August 31, 2007                        Respectfully submitted,
       Wilmington, Delaware
                                              DRAPER & GOLDBERG, PLLC


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                                              and




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